           Case 19-80064-TLS                      Doc 1       Filed 01/16/19 Entered 01/16/19 07:23:24                              Desc Main
                                                              Document     Page 1 of 27
Fill in this information to identify the case:

United States Bankruptcy Court for the:
                           District of Nebraska
                                          (State)                                                                                      ☐ Check if this is an
Case number (if known):                                         Chapter     11                                                             amended filing



      Official Form 201
      Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                      04/16
      If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
      number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




1.   Debtor’s Name                                Specialty Retail Shops Holding Corp.


                                                  SKO Group Holding Corp.
2. All other names debtor used
   in the last 8 years

     Include any assumed names,
     trade names, and doing business
     as names

3. Debtor’s federal Employer
   Identification Number (EIN)                    XX-XXXXXXX


4. Debtor’s address                       Principal place of business                                     Mailing address, if different from principal place
                                                                                                          of business
                                          700 Pilgrim Way
                                          Number              Street                                      Number         Street


                                                                                                          P.O. Box
                                          Green Bay, Wisconsin 54304
                                           City                              State     Zip Code           City                         State     Zip Code

                                                                                                          Location of principal assets, if different from
                                                                                                          principal place of business
                                          Brown
                                           County                                                         Number         Street




                                                                                                          City                         State     Zip Code




5. Debtor’s website (URL)                  http://www.shopko.com

6.   Type of debtor                       ☒ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                          ☐ Partnership (excluding LLP)

                                          ☐ Other. Specify:




      Official Form 201                             Voluntary Petition for Non-Individuals Filing for Bankruptcy                                      page 1
           Case 19-80064-TLS                Doc 1        Filed 01/16/19 Entered 01/16/19 07:23:24                               Desc Main
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Debtor            Specialty Retail Shops Holding Corp.                              Case number (if known)
           Name



                                             A. Check One:
7.   Describe debtor’s business
                                             ☐ Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                             ☐ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                             ☐ Railroad (as defined in 11 U.S.C. § 101(44))

                                             ☐ Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                             ☐ Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                             ☐ Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                             ☒ None of the above

                                             B. Check all that apply:
                                             ☐ Tax-exempt entity (as described in 26 U.S.C. § 501)

                                             ☐ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                                § 80a-3)
                                             ☐ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                             C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                                 http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                             __4522__

8. Under which chapter of the                Check One:
   Bankruptcy Code is the
   debtor filing?                            ☐ Chapter 7

                                             ☐ Chapter 9

                                             ☒ Chapter 11. Check all that apply:

                                                               ☐ Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                                 insiders or affiliates) are less than $2,566,050 (amount subject to adjustment on
                                                                 4/01/19 and every 3 years after that).
                                                               ☐ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                                 debtor is a small business debtor, attach the most recent balance sheet, statement
                                                                 of operations, cash-flow statement, and federal income tax return, or if all of these
                                                                 documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                               ☒ A plan is being filed with this petition.

                                                               ☐ Acceptances of the plan were solicited prepetition from one or more classes of
                                                                 creditors, in accordance with 11 U.S.C. § 1126(b).
                                                               ☐ The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                                 Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                                 Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals
                                                                 Filing for Bankruptcy under Chapter 11 (Official Form 201A) with this form.
                                                               ☐ The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                                 12b-2.
                                             ☐ Chapter 12

9. Were prior bankruptcy cases          ☒ No
   filed by or against the debtor       ☐ Yes.      District                           When                      Case number
   within the last 8 years?                                                                     MM/DD/YYYY
     If more than 2 cases, attach a                 District                           When                      Case number
     separate list.                                                                             MM/DD/YYYY

10. Are any bankruptcy cases             ☐ No
    pending or being filed by a          ☒ Yes.                                                                  Relationship     Affiliate
                                                    Debtor      See Rider 1
    business partner or an
    affiliate of the debtor?                        District    District of Nebraska                             When
     List all cases. If more than 1,                                                                                              01/16/2019
     attach a separate list.                       Case number, if known _______________________                                  MM / DD / YYYY

      Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                          page 2
          Case 19-80064-TLS                 Doc 1        Filed 01/16/19 Entered 01/16/19 07:23:24                                    Desc Main
                                                         Document     Page 3 of 27
Debtor           Specialty Retail Shops Holding Corp.                               Case number (if known)
          Name



11. Why is the case filed in this      Check all that apply:
    district?
                                       ☐    Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                            immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                            district.
                                       ☒    A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or have        ☒ No1
    possession of any real             ☐ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property or personal property
    that needs immediate                         Why does the property need immediate attention? (Check all that apply.)
    attention?
                                                 ☐      It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                        safety.
                                                        What is the hazard?

                                                 ☐      It needs to be physically secured or protected from the weather.

                                                   ☐    It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                        attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                        assets or other options).
                                                 ☐      Other


                                                 Where is the property?
                                                                                       Number          Street



                                                                                       City                                  State       Zip Code



                                                 Is the property insured?
                                                 ☐ No

                                                 ☐ Yes.      Insurance agency

                                                             Contact name
                                                             Phone




                      Statistical and administrative information

13. Debtor's estimation of            Check one:
    available funds
                                      ☒ Funds will be available for distribution to unsecured creditors.
                                      ☐ After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

14. Estimated number of               ☒     1-49                        ☐     1,000-5,000                        ☐    25,001-50,000
    creditors                         ☐     50-99                       ☐     5,001-10,000                       ☐    50,001-100,000
                                      ☐     100-199                     ☐     10,001-25,000                      ☐    More than 100,000
                                      ☐     200-999



15. Estimated assets                  ☒     $0-$50,000                  ☐     $1,000,001-$10 million              ☐   $500,000,001-$1 billion
                                      ☐     $50,001-$100,000            ☐     $10,000,001-$50 million             ☐   $1,000,000,001-$10 billion
                                      ☐     $100,001-$500,000           ☐     $50,000,001-$100 million            ☐   $10,000,000,001-$50 billion
                                      ☐     $500,001-$1 million         ☐     $100,000,001-$500 million           ☐   More than $50 billion


1
     The Debtor does not believe it owns or possesses any real or personal property that poses or is alleged to pose a threat of imminent and
     identifiable harm to the public health or safety.

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        Case 19-80064-TLS                    Doc 1    Filed 01/16/19 Entered 01/16/19 07:23:24   Desc Main
                                                      Document     Page 5 of 27

   Fill in this information to identify the case:


   United States Bankruptcy Court for the:
                          District of Nebraska
                                            (State)                                               ☐ Check if this is an
   Case number (if                                                                                    amended filing
   known):                                              Chapter   11


                                             Rider 1
              Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

       On the date hereof, each of the entities listed below (collectively, the “Debtors”) filed a petition
in the United States Bankruptcy Court for the District of Nebraska for relief under chapter 11 of title 11
of the United States Code. The Debtors have moved for joint administration of these cases under the
case number assigned to the chapter 11 case of Specialty Retail Shops Holding Corp.

        •    Specialty Retail Shops Holding Corp.
        •    SVS Trucking, LLC
        •    ShopKo Stores Operating Co., LLC
        •    Shopko Properties, LLC
        •    ShopKo Optical Manufacturing, LLC
        •    ShopKo Institutional Care Services Co., LLC
        •    ShopKo Holding Company, LLC
        •    Shopko Gift Card Co., LLC
        •    ShopKo Finance, LLC
        •    Retained R/E SPE, LLC
        •    Place’s Associates Expansion, LLC
        •    Penn-Daniels, LLC
        •    Pamida Transportation, LLC
        •    Pamida Stores Operating Co., LLC
                                                    Case 19-80064-TLS                                  Doc 1       Filed 01/16/19 Entered 01/16/19 07:23:24                                              Desc Main
                                                                                                                   Document     Page 6 of 27
Fill in this information to identify the case:
  Debtor name: Specialty Retail Shops Holding Corp.                                                                                                                                                        □ Check if this is an amended ﬁling
  United States Bankruptcy Court for the District of Nebraska
  Case number (if known):



Official Form 204

Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders                                                                                                                                                     12/15

A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C.

Name of creditor and complete mailing address,                  Name, telephone number, and email address of                 Nature of the claim(for example,   Indicate if claim is   Amount of unsecured claim
including zip code                                              creditor contact                                             trade debts, bank loans,           contingent,            If the claim is fully unsecured, fill in only unsecured claim amount. If claim is
                                                                                                                             professional services, and         unliquidated, or       partially secured, fill in total claim amount and deduction for value of
                                                                                                                             government contracts)              disputed               collateral or setoff to calculate unsecured claim.
                                                                                                                                                                                           Total claim, if      Deduction for value of collateral or
                                                                                                                                                                                                                                                       Unsecured Claim
                                                                                                                                                                                         partially secured                       setoff
                                                                MCKESSON DRUG COMPANY
             MCKESSON DRUG COMPANY
                                                                Attn: Ana Schrank
             Attn: Ana Schrank
1                                                               PHONE: 800‐210‐6371                                          Vendor                                                                                                                          $69,768,494.57
             One Post Street
                                                                FAX: 415‐983‐7160
             San Francisco, CA 94104
                                                                EMAIL: Ana.Schrank@mckesson.com
             PROVIDER PAY                                       PROVIDER PAY
             Attn: Rich Sprung, SVP                             Attn: Rich Sprung, SVP
2            5241 South State Street                            PHONE: 801‐716‐4824                                          Vendor                                                                                                                           $5,712,540.64
             Unit #2                                            FAX: 855‐214‐2356
             Murray, UT 84107                                   EMAIL: rich.sprung@providerpay.com
                                                                U.S. BANK GLOBAL CORPORATE TRUST SERVICES
             U.S. BANK GLOBAL CORPORATE TRUST SERVICES          Attn: Yvonne Siira
3            111 Fillmore Ave E                                 PHONE: 866‐681‐5052                                          Bond                                                                                                                             $5,679,000.00
             St. Paul, MN 55107‐1402                            EMAIL: Yvonne.siira@usbank.com


                                                                BLACKHAWK NETWORK INC
             BLACKHAWK NETWORK INC                              Attn: Imran Refai
             Attn: Imran Refai                                  PHONE: 925‐226‐9927
4                                                                                                                            Vendor                                                                                                                           $2,691,589.56
             6220 Stoneridge Mall Road                          FAX: 925‐226‐9083
             Pleasanton, CA 94588                               EMAIL: bh.customerservice@bhnetwork.com;
                                                                Imran.Refai@bhnetwork.com

             AMERICAN RUG                                       AMERICAN RUG
             Attn: Tom Merriman, VP Sales                       Attn: Tom Merriman, VP Sales
5            c/o Mohawk Industries                              PHONE: 212‐561‐8791 x13                                      Vendor                                                                                                                           $1,868,815.73
             160 South Industrial Blvd.                         FAX: 706‐625‐3851
             Calhoun, GA 30701                                  EMAIL: tom_merriman@mohawkind.com

                                                                RUSSELL STOVER CANDIES
             RUSSELL STOVER CANDIES
                                                                Attn: Lisa Sanoubane
             Attn: Lisa Sanoubane
6                                                               PHONE: 816‐855‐2493                                          Vendor                                                                                                                           $1,802,350.48
             4900 Oak Street
                                                                FAX: 816‐855‐2356
             Kansas City, MO 64112‐2702
                                                                EMAIL: Lisa.Sanoubane@rstover.com

                                                                HOME PRODUCTS INTERNATIONAL N A
             HOME PRODUCTS INTERNATIONAL N A
                                                                Attn: Rodney Bruner
             Attn: Rodney Bruner
7                                                               PHONE: 812‐ 522‐5130 x 3661                                  Vendor                                                                                                                           $1,640,046.13
             4501 W. 47th Street
                                                                FAX: 773‐890‐0523
             Chicago, IL 60632
                                                                EMAIL: homzinfo@homzproducts.com; rbruner@homzproducts.com

                                                                PAYLESS SHOESOURCE INCORPORATE
             PAYLESS SHOESOURCE INCORPORATE
                                                                Attn: Melanie DeWitt, VP Planning and Allocation
             Attn: Melanie DeWitt, VP Planning and Allocation
8                                                               PHONE: 785‐559‐6310                                          Vendor                                                                                                                           $1,580,298.54
             3231 SE 6TH AVENUE
                                                                FAX: 785‐295‐6049
             Topeka, KS 66607
                                                                EMAIL: Melanie.DeWitt@Payless.com
                                                       Case 19-80064-TLS                                        Doc 1               Filed 01/16/19 Entered 01/16/19 07:23:24                                         Desc Main
Debtor: Specialty Retail Shops Holding Corp.                                                                                                                                                                                                    Case number (if known)
                                                                                                                                    Document     Page 7 of 27
Name of creditor and complete mailing address,                          Name, telephone number, and email address of                     Nature of the claim(for example,   Indicate if claim is   Amount of unsecured claim
including zip code                                                      creditor contact                                                 trade debts, bank loans,           contingent,            If the claim is fully unsecured, fill in only unsecured claim amount. If claim is
                                                                                                                                         professional services, and         unliquidated, or       partially secured, fill in total claim amount and deduction for value of
                                                                                                                                         government contracts)              disputed               collateral or setoff to calculate unsecured claim.
                                                                                                                                                                                                       Total claim, if      Deduction for value of collateral or
                                                                                                                                                                                                                                                                   Unsecured Claim
                                                                                                                                                                                                     partially secured                       setoff
              STAR PLASTICS INC                                         STAR PLASTICS INC
              Attn: Rajiv Goyal, Controller                             Attn: Rajiv Goyal, Controller
9             1930 Drew Rd                                              PHONE: 905‐672‐0298, x229                                        Vendor                                                                                                                           $1,538,559.70
              Mississauga, ON L5S 1J6                                   FAX: 905‐672‐0314
              Canada                                                    EMAIL: sales@starplastics.ca; rgoyal@starplastics.ca


              HAVAS MEDIA                                               HAVAS MEDIA
              Attn: Kim Goldstein, VP, Account Director, Local          Attn: Kim Goldstein, VP, Account Director, Local Investments
10            Investments                                               PHONE: 646‐587‐5270                                              Vendor                                                                                                                           $1,494,365.59
              200 Hudson Street                                         FAX: 212‐886‐5013
              New York, NY 10014                                        EMAIL: kim.goldstein@havasmedia.com

                                                                        ESSENDANT CO
              ESSENDANT CO
                                                                        Attn: Sandra Palacios
              Attn: Sandra Palacios
11                                                                      PHONE: 847‐627‐2012                                              Vendor                                                                                                                           $1,426,872.13
              One Parkway North Blvd
                                                                        FAX: 847‐627‐7001
              Deerfield, IL 60015
                                                                        EMAIL: SPalacios@essendant.com

                                                                        IMPACT INNOVATIONS INCORPORATED
              IMPACT INNOVATIONS INCORPORATED                           Attn: Chris Yoose
              Attn: Chris Yoose                                         PHONE: 320‐847‐1304
12                                                                                                                                       Vendor                                                                                                                           $1,299,655.00
              223 SE 1st Ave                                            FAX: 320‐847‐1350
              Clara City, MN 56222                                      EMAIL: info@impactinnovationsinc.com ;
                                                                        C.Yoose@impactinnovationsinc.com

                                                                        W APPLIANCE CO LLC
              W APPLIANCE CO LLC
                                                                        Attn: Robert Radasevich, Outside Counsel
              Attn: Robert Radasevich, Outside Counsel
13                                                                      PHONE: 312‐269‐8039                                              Vendor                                                                                                                           $1,227,680.21
              1356 Broadway 6th Floor
                                                                        FAX: 312‐578‐4947
              New York, NY 10018
                                                                        EMAIL: Rradasevich@nge.com

              MINGTEL INC                                               MINGTEL INC
              Attn: Mike Glasscock, Directory of Business Dev & Ops     Attn: Mike Glasscock, Directory of Business Dev & Ops
14            6505 Windcrest Drive                                      PHONE: 972‐905‐4592                                              Vendor                                                                                                                           $1,213,501.32
              Suite 300                                                 FAX: 972‐378‐6758
              Plano, TX 75024‐2921                                      EMAIL: mglassock@azpenpc.com

              TRACFONE WIRELESS INCORPORATED                            TRACFONE WIRELESS INCORPORATED
              Attn: M. Drew Haynie, Senior Vice President, Ntl Retail   Attn: M. Drew Haynie, Senior Vice President, Ntl Retail Sales
15            Sales                                                     PHONE: 800‐933‐3850, ext 3695                                    Vendor                                                                                                                           $1,196,407.10
              9700 NW 112th Avenue                                      FAX: 305‐640‐2070
              Miami, FL 33178                                           EMAIL: dhaynie@tracfone.com

              READERLINK DISTRIBUTION SERVICES INC                      READERLINK DISTRIBUTION SERVICES INC
              Attn: Carol Munoz                                         Attn: Carol Munoz
16            1420 Kensington Road                                      PHONE: 708‐356‐3713                                              Vendor                                                                                                                           $1,140,936.98
              Suite 300                                                 FAX: 479‐464‐4932
              Oak Brook, IL 60523‐2164                                  EMAIL: cmunoz@readerlink.com

                                                                        HanesBrands
                                                                        Attn: Susan Venable & Maday Cuenca
              HanesBrands
                                                                        PHONE: 336‐519‐4821
              Attn: Susan Venable & Maday Cuenca
17                                                                      336‐519‐8537                                                     Vendor                                                                                                                           $1,120,382.57
              1000 East Hanes Mill Road
                                                                        FAX: 336‐519‐0524
              Winston Salem, NC 27105
                                                                        EMAIL: Susan.Venable@hanesbrands.com
                                                                        Maday.Cuenca@hanes.com

                                                                        TRILLIANT FOOD & NUTRITION
              TRILLIANT FOOD & NUTRITION
                                                                        Attn: Mike Upchurch, Owner/CEO
              Attn: Mike Upchurch, Owner/CEO
18                                                                      PHONE: 920‐788‐1252                                              Vendor                                                                                                                           $1,051,855.64
              1101 Moasis Drive
                                                                        FAX: 920‐788‐1543
              Little Chute, WI 54140
                                                                        EMAIL: mupchurch@trilliantfood.com




Official Form 204                                                                                            Chapter 11 Cases: List of Creditors Who Have the 30 Largest Unecured Claims                                                                                        Page 2
                                                      Case 19-80064-TLS                                  Doc 1                Filed 01/16/19 Entered 01/16/19 07:23:24                                         Desc Main
Debtor: Specialty Retail Shops Holding Corp.                                                                                                                                                                                              Case number (if known)
                                                                                                                              Document     Page 8 of 27
Name of creditor and complete mailing address,                    Name, telephone number, and email address of                     Nature of the claim(for example,   Indicate if claim is   Amount of unsecured claim
including zip code                                                creditor contact                                                 trade debts, bank loans,           contingent,            If the claim is fully unsecured, fill in only unsecured claim amount. If claim is
                                                                                                                                   professional services, and         unliquidated, or       partially secured, fill in total claim amount and deduction for value of
                                                                                                                                   government contracts)              disputed               collateral or setoff to calculate unsecured claim.
                                                                                                                                                                                                 Total claim, if      Deduction for value of collateral or
                                                                                                                                                                                                                                                             Unsecured Claim
                                                                                                                                                                                               partially secured                       setoff
              U S NUTRITION                                       U S NUTRITION
              Attn: Lou Donadio, VP                               Attn: Lou Donadio, VP
19            c/o Nature's Bounty                                 PHONE: 479‐366‐0292                                              Vendor                                                                                                                           $1,043,236.67
              2100 Smithtown Avenue                               FAX: 631‐281‐7341
              Ronkonkoma, NY 11779                                EMAIL: ldonadio@nbty.com

              ONTEL PRODUCTS CORPORATION                          ONTEL PRODUCTS CORPORATION
              Attn: Mike Lakhiani, Representative, LASA Sales &   Attn: Mike Lakhiani, Representative, LASA Sales & Consult
20            Consult                                             PHONE: 973‐521‐8530                                              Vendor                                                                                                                           $1,003,621.80
              21 Law Drive                                        FAX: 973‐439‐9024
              Fairfield, NJ 07004                                 EMAIL: mike@lasasales.com

                                                                  COLEMAN COMPANY INCORPORATED
              COLEMAN COMPANY INCORPORATED
                                                                  Attn: Lisa Tanner
              Attn: Lisa Tanner
21                                                                PHONE: 316‐832‐6263                                              Vendor                                                                                                                            $998,964.15
              3600 North Hydraulic Avenue
                                                                  FAX: 316‐832‐3060
              Wichita, KS 67219
                                                                  EMAIL: ltanner@coleman.com

              HNW INDUSTRY INC DBA FLYP SPORTSWEAR                HNW INDUSTRY INC DBA FLYP SPORTSWEAR
              Attn: Jody Fleischmann, Co‐Owner                    Attn: Jody Fleischmann, Co‐Owner
22            1384 Broadway                                       PHONE: 212‐624‐7797                                              Vendor                                                                                                                            $997,880.43
              Room 1000S                                          FAX: 212‐971‐9203
              New York, NY 10018                                  EMAIL: jody@flypusa.com

                                                                  UNITED PARCEL SERVICE
              UNITED PARCEL SERVICE
                                                                  Attn: D. Scott Davis
              Attn: D. Scott Davis
23                                                                PHONE: 404‐828‐6000                                              Vendor                                                                                                                            $933,601.87
              55 Glenlake Parkway NE
                                                                  FAX: 404‐828‐7666
              Atlanta, GA 30328
                                                                  EMAIL: contactcenter@ups.com
                                                                  BERGENSONS PROPERTY SERVICES INC
              BERGENSONS PROPERTY SERVICES INC
                                                                  PHONE: 800‐537‐1375
24            1575 Henthorne Drive                                                                                                 Vendor                                                                                                                            $858,382.92
                                                                  FAX: 419‐867‐4295
              Maumee, OH 43537
                                                                  EMAIL:

                                                                  ADIDAS AMERICA INCORPORATED
                                                                  Attn: Linda CanullBrian Eliasson
              ADIDAS AMERICA INCORPORATED
                                                                  PHONE: (317) 895‐7188
              Attn: Linda CanullBrian Eliasson
25                                                                800 423 4327                                                     Vendor                                                                                                                            $835,465.30
              5055 N Greeley Avenue
                                                                  FAX: 971‐234‐2450
              Portland, OR 97217
                                                                  EMAIL: linda.canull@adidas‐group.com
                                                                  brian.eliasson@adidas‐group.com


                                                                  ROYAL APPLIANCE MANUFACTURING
             ROYAL APPLIANCE MANUFACTURING
                                                                  Attn: David Zazworsky, General Manager, Sales
             Attn: David Zazworsky, General Manager, Sales
26                                                                PHONE: 404‐667‐0804                                              Vendor                                                                                                                            $832,043.71
             650 Alpha Drive
                                                                  FAX: 216‐449‐7806
             Cleveland, OH 44143
                                                                  EMAIL: davidzazworsky@ttifloorcare.com



                                                                  MELISSA & DOUG LLC
              MELISSA & DOUG LLC
                                                                  Attn: David Postlethwaite
              Attn: David Postlethwaite
27                                                                PHONE: 203‐762‐4500                                              Vendor                                                                                                                            $787,733.28
              141 Danbury Road
                                                                  FAX: 203‐846‐8128
              Wilton, CT 06897
                                                                  EMAIL: dpostlethwaite@melissaanddoug.com

                                                                  HASBRO INCORPORATED
              HASBRO INCORPORATED
                                                                  Attn: Scott Russell
              Attn: Scott Russell
28                                                                PHONE: 401 431‐8123                                              Vendor                                                                                                                            $708,463.50
              1027 Newport Avenue
                                                                  FAX: 401‐727‐5099
              Pawtucket, RI 02861‐2500
                                                                  EMAIL: Scott.Russell@hasbro.com

              ENGIE Group
                                                                  ENGIE Group
              Attn: Mary Ahmann, Client Service Director
                                                                  Attn: Mary Ahmann, Client Service Director
              1, Place Samuel de Champlain
29                                                                PHONE: 615 900 6017                                              Vendor                                                                                                                            $700,143.78
              Faubourg de l'Arche
                                                                  FAX: 33‐1‐5991‐2005
              Paris la Defense 92930
                                                                  EMAIL: mary.ahmann@engie.com
              France




Official Form 204                                                                                     Chapter 11 Cases: List of Creditors Who Have the 30 Largest Unecured Claims                                                                                         Page 3
                                              Case 19-80064-TLS                     Doc 1     Filed 01/16/19 Entered 01/16/19 07:23:24                                             Desc Main
Debtor: Specialty Retail Shops Holding Corp.                                                                                                                                                                  Case number (if known)
                                                                                              Document     Page 9 of 27
Name of creditor and complete mailing address,     Name, telephone number, and email address of        Nature of the claim(for example,   Indicate if claim is   Amount of unsecured claim
including zip code                                 creditor contact                                    trade debts, bank loans,           contingent,            If the claim is fully unsecured, fill in only unsecured claim amount. If claim is
                                                                                                       professional services, and         unliquidated, or       partially secured, fill in total claim amount and deduction for value of
                                                                                                       government contracts)              disputed               collateral or setoff to calculate unsecured claim.
                                                                                                                                                                     Total claim, if      Deduction for value of collateral or
                                                                                                                                                                                                                                 Unsecured Claim
                                                                                                                                                                   partially secured                       setoff
                                                   WONDERFUL PISTACHIOS & ALMONDS
             WONDERFUL PISTACHIOS & ALMONDS
                                                   PHONE: 310‐966‐5700
30           11444 W Olympic Blvd #310                                                                 Vendor                                                                                                                            $679,061.66
                                                   FAX:
             Los Angeles, CA 90064‐1544
                                                   EMAIL: comments@wonderful.com




Official Form 204                                                              Chapter 11 Cases: List of Creditors Who Have the 30 Largest Unecured Claims                                                                                   Page 4
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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF NEBRASKA

                                                    )
In re:                                              )     Chapter 11
                                                    )
SPECIALTY RETAIL SHOPS HOLDING CORP.,               )     Case No. 19-______ (___)
                                                    )
                         Debtor.                    )
                                                    )

                                   LIST OF EQUITY SECURITY HOLDERS2

         Debtor                Equity Holders             Address of Equity Holder        Percentage of
                                                                                           Equity Held
Specialty Retail Shops     SKO Group Holding,           5200 Town Circle Center              99.75%3
Holding Corp.              LLC                          Boca Raton, FL 33486




2
    This list serves as the disclosure required to be made by the debtor pursuant to rule 1007 of the
    Federal Rules of Bankruptcy Procedure. All equity positions listed are as of the date of
    commencement of the chapter 11 case.

3
    Less than 10 individuals hold approximately .25% of Specialty Retail Shops Holding Corp.’s
    outstanding shares. A list is available upon request to Specialty Retail Shops Holding Corp.’s
    Counsel.


                                                    Rider 1
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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF NEBRASKA

                                                  )
In re:                                            )     Chapter 11
                                                  )
SPECIALTY RETAIL SHOPS HOLDING CORP.,             )     Case No. 19-______ (___)
                                                  )
                       Debtor.                    )
                                                  )

                                 CORPORATE OWNERSHIP STATEMENT

        Pursuant to rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure, the
following are corporations, other than a government unit, that directly or indirectly own 10% or more of
any class of the debtor’s equity interest:

                    Shareholder                           Approximate Percentage of Shares Held

    SKO Group Holding, LLC                                                    99.75%
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              OMNIBUS WRITTEN CONSENT IN LIEU OF MEETINGS
            OF THE BOARDS OF DIRECTORS, SOLE GOVERNING BODY,
                 AND SOLE GOVERNING BODY AND MANAGER

                                 Dated as of January 15, 2019

The undersigned, being the board of directors, board of managers, or sole member, as
applicable (each, the “Governing Body”), of the applicable entity set forth on Annex A
attached hereto (each, a “Company,” and, collectively, the “Companies”), hereby take the
following actions and adopt the following resolutions pursuant to (as applicable) the bylaws,
limited liability company agreement, limited partnership agreement or similar document (in
each case as amended or amended and restated to date) of each Company and the laws of the
state of formation of each Company as set forth next to each Company’s name on Annex A:

Chapter 11 Filing

       WHEREAS, each Governing Body has considered presentations by the management and
       the financial and legal advisors of each Company regarding the liabilities and liquidity
       situation of each Company, the strategic alternatives available to it, and the effect of the
       foregoing on each Company’s business; and

       WHEREAS, each Governing Body has had the opportunity to consult with the
       management and the financial and legal advisors of the Companies and fully consider each
       of the strategic alternatives available to the Companies.

       NOW, THEREFORE, BE IT,

       RESOLVED, that in the judgment of each Governing Body, it is desirable and in the best
       interests of each Company (including a consideration of its creditors and other parties in
       interest) that each Company shall be, and hereby is, authorized to file, or cause to be filed,
       a voluntary petition for relief (the “Chapter 11 Case”) under the provisions of chapter 11
       of title 11 of the United States Code (the “Bankruptcy Code”) in a court of proper
       jurisdiction (the “Bankruptcy Court”) and any other petition for relief or recognition or
       other order that may be desirable under applicable law in the United States; and

       RESOLVED, that any officers or managers of each Company (collectively,
       the “Authorized Signatories”), acting alone or with one or more other Authorized
       Signatories be, and they hereby are, authorized, empowered and directed to execute and
       file on behalf of each Company all petitions, schedules, lists and other motions, papers, or
       documents, and to take any and all action that they deem necessary or proper to obtain such
       relief, including, without limitation, any action necessary to maintain the ordinary course
       operation of each Company’s business.

Retention of Professionals

       RESOLVED, that each of the Authorized Signatories be, and they hereby are, authorized
       and directed to employ the law firm of Kirkland & Ellis LLP and Kirkland & Ellis
       International LLP (together, “Kirkland”) as general bankruptcy counsel to represent and
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     assist each Company in carrying out its duties under the Bankruptcy Code, and to take any
     and all actions to advance each Company’s rights and obligations, including filing any
     motions, objections, replies, applications or pleadings; and in connection therewith, each
     of the Authorized Signatories, with power of delegation, is hereby authorized and directed
     to execute appropriate retention agreements, pay appropriate retainers, and to cause to be
     filed an appropriate application for authority to retain the services of Kirkland.

     RESOLVED, that each of the Authorized Signatories be, and they hereby are, authorized
     and directed to employ the law firm of McGrath North Mullin & Katz PC LLO
     (“McGrath North”) as local bankruptcy counsel to represent and assist each Company in
     carrying out its duties under the Bankruptcy Code, and to take any and all actions to
     advance each Company’s rights and obligations, including filing any motions, objections,
     replies, applications or pleadings; and in connection therewith, each of the Authorized
     Signatories, with power of delegation, is hereby authorized and directed to execute
     appropriate retention agreements, pay appropriate retainers, and to cause to be filed an
     appropriate application for authority to retain the services of McGrath North.

     RESOLVED, that each of the Authorized Signatories be, and they hereby are, authorized
     and directed to employ the firm Houlihan Lokey Capital, Inc. (“Houlihan”) as investment
     banker to, among other things, assist each Company in evaluating its business and
     prospects, developing a long-term business plan, developing financial data for evaluation
     by each Governing Body, creditors, or other third parties, as requested by each Company,
     evaluating each Company’s capital structure, responding to issues related to each
     Company’s financial liquidity, and in any sale, reorganization, business combination, or
     similar disposition of each Company’s assets; and in connection therewith, each of the
     Authorized Signatories, with power of delegation, is hereby authorized and directed to
     execute appropriate retention agreements, pay appropriate retainers, and to cause to be filed
     an appropriate application for authority to retain the services of Houlihan.

     RESOLVED, that each of the Authorized Signatories be, and they hereby are, authorized
     and directed to employ the firm Berkeley Research Group, LLC (“BRG”), as restructuring
     advisor, and to take any and all actions to advance each of each Company’s rights and
     obligations; and in connection therewith, each of the Authorized Signatories, with power
     of delegation, is hereby authorized and directed to execute appropriate retention
     agreements, pay appropriate retainers, and to cause to be filed an appropriate application
     for authority to retain the services of BRG.

     RESOLVED, that each of the Authorized Signatories be, and they hereby are, authorized
     and directed to employ the firm of Hilco Real Estate, LLC (“Hilco”) as real estate
     consultant to represent and assist each Company in carrying out its duties under the
     Bankruptcy Code, and to take any and all actions to advance each Company’s rights and
     obligations; and in connection therewith, each of the Authorized Signatories, with power
     of delegation, is hereby authorized and directed to execute appropriate retention
     agreements, pay appropriate retainers, and to cause to be filed appropriate applications for
     authority to retain the services of Hilco.
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      RESOLVED, that each of the Authorized Signatories be, and they hereby are, authorized
      and directed to employ the firm of Prime Clerk LLC (“Prime Clerk”) as notice and claims
      agent to represent and assist each Company in carrying out its duties under the Bankruptcy
      Code, and to take any and all actions to advance each Company’s rights and obligations;
      and in connection therewith, each of the Authorized Signatories, with power of delegation,
      is hereby authorized and directed to execute appropriate retention agreements, pay
      appropriate retainers, and to cause to be filed appropriate applications for authority to retain
      the services of Prime Clerk.

      RESOLVED, that each of the Authorized Signatories be, and they hereby are, authorized
      and directed to employ the law firm of Willkie Far & Gallagher LLP (“Willkie”) as counsel
      in connection with the matters delegated to that certain Special Committee of the Board of
      Directors of Specialty Retail Shops Holding Corp. (the “Special Committee”) and in
      connection therewith, each of the Authorized Signatories, with power of delegation, is
      hereby authorized and directed to execute appropriate retention agreements, pay
      appropriate retainers, and to cause to be filed an appropriate application for authority to
      retain the services of Willkie.

      RESOLVED, that each of the Authorized Signatories be, and they hereby are, authorized
      and directed to employ the law firm of Ducera Partners LLC (“Ducera”) as financial
      advisor in connection with the matters delegated to the Special Committee and in
      connection therewith, each of the Authorized Signatories, with power of delegation, is
      hereby authorized and directed to execute appropriate retention agreements, pay
      appropriate retainers, and to cause to be filed an appropriate application for authority to
      retain the services of Ducera.

      RESOLVED, that each of the Authorized Signatories be, and they hereby are, authorized
      and directed to employ any other professionals to assist each Company in carrying out its
      duties under the Bankruptcy Code; and in connection therewith, each of the Authorized
      Signatories, with power of delegation, is hereby authorized and directed to execute
      appropriate retention agreements, pay appropriate retainers and fees, and to cause to be
      filed an appropriate application for authority to retain the services of any other
      professionals as necessary.

      RESOLVED, that each of the Authorized Signatories be, and they hereby are, with power
      of delegation, authorized, empowered and directed to execute and file all petitions,
      schedules, motions, lists, applications, pleadings, and other papers and, in connection
      therewith, to employ and retain all assistance by legal counsel, accountants, financial
      advisors, and other professionals and to take and perform any and all further acts and deeds
      that each of the Authorized Signatories deem necessary, proper, or desirable in connection
      with each Company’s Chapter 11 Case, with a view to the successful prosecution of
      such case.

Debtor-in-Possession Financing, Cash Collateral, and Adequate Protection

       RESOLVED, that each Company will obtain benefits from (a) the use of collateral,
       including cash collateral, as that term is defined in section 363(a) of the Bankruptcy Code
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      (the “Cash Collateral”), which is security for certain prepetition secured lenders
      (collectively, the “Secured Lenders”) party to that certain Third Amended and Restated
      Loan and Security Agreement, dated as of February 7, 2012 (as amended from time to
      time), by and among Specialty Retail Shops Holding Corp., as borrower, and its
      subsidiaries as borrowers or guarantors, certain lenders party thereto, and Wells Fargo
      Bank, N.A. and Spirit Realty, Inc., in their capacities as administrative agents, and (b) the
      incurrence of debtor-in-possession financing obligations (the “DIP Financing”).

      RESOLVED, that in order to use and obtain the benefits of (a) the DIP Financing and
      (b) the Cash Collateral, and in accordance with section 363 of the Bankruptcy Code, each
      Company will provide certain liens, claims, and adequate protection to the Secured
      Lenders (the “DIP Obligations”), as documented in a proposed interim order (the “Interim
      DIP Order”) and submitted for approval to the Bankruptcy Court.

      RESOLVED, that the form, terms, and provisions of the Interim DIP Order to which each
      Company is or will be subject, and the actions and transactions contemplated thereby be,
      and hereby are authorized, adopted, and approved, and each of the Authorized Signatories
      of each Company be, and hereby is, authorized and empowered, in the name of and on
      behalf of each Company, to take such actions and negotiate or cause to be prepared and
      negotiated and to execute, deliver, perform, and cause the performance of, the Interim DIP
      Order, and such other agreements, certificates, instruments, receipts, petitions, motions,
      or other papers or documents to which each Company is or will be a party, including, but
      not limited to, any security and pledge agreement or guaranty agreement (collectively with
      the Interim DIP Order, the “DIP Documents”), incur and pay or cause to be paid all fees
      and expenses and engage such persons, in each case, in the form or substantially in the
      form thereof submitted to each Governing Body, with such changes, additions, and
      modifications thereto as the officers of each Company executing the same shall approve,
      such approval to be conclusively evidenced by such officers’ execution and
      delivery thereof.

      RESOLVED, that each Company, as debtor and debtor in possession under the
      Bankruptcy Code be, and hereby is, authorized to incur the DIP Obligations and certain
      obligations related to the DIP Financing and to undertake any and all related transactions
      on substantially the same terms as contemplated under the DIP Document (collectively,
      the (“DIP Transactions”), including granting liens on its assets to secure such obligations.

      RESOLVED, that the Authorized Signatories of each Company be, and they hereby are,
      authorized and directed, and each of them acting alone hereby is, authorized, directed, and
      empowered in the name of, and on behalf of, each Company, as debtors and debtors in
      possession, to take such actions as in their discretion is determined to be necessary,
      desirable, or appropriate and execute the DIP Transactions, including delivery of: (a) the
      DIP Documents; (b) such other instruments, certificates, notices, assignments, and
      documents as may be reasonably requested by the Agents; and (c) such forms of deposit,
      account control agreements, officer’s certificates, and compliance certificates as may be
      required by the DIP Documents.
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      RESOLVED, that each of the Authorized Signatories of each Company be, and hereby is,
      authorized, directed, and empowered in the name of, and on behalf of, each Company to
      file or to authorize the Agents to file any Uniform Commercial Code (the “UCC”)
      financing statements, any other equivalent filings, any intellectual property filings and
      recordation and any necessary assignments for security or other documents in the name
      each Company that the Agents deem necessary or appropriate to perfect any lien or
      security interest granted under the Interim DIP Order, including any such UCC financing
      statement containing a generic description of collateral, such as “all assets,” “all property
      now or hereafter acquired” and other similar descriptions of like import, and to execute
      and deliver, and to record or authorize the recording of, such mortgages and deeds of trust
      in respect of real property of each Company and such other filings in respect of intellectual
      and other property of each Company, in each case as the Agents may reasonably request
      to perfect the security interests of the Agents under the Interim DIP Order or any of the
      other DIP Documents.

      RESOLVED, that each of the Authorized Signatories of each Company be, and hereby is,
      authorized, directed, and empowered in the name of, and on behalf of, each Company to
      take all such further actions, including, without limitation, to pay or approve the payment
      of all fees and expenses payable in connection with the DIP Transactions and all fees and
      expenses incurred by or on behalf of each Company in connection with the foregoing
      resolutions, in accordance with the terms of the DIP Documents, which shall in their sole
      judgment be necessary, desirable, proper, or advisable to perform any of each Company’s
      obligations under or in connection with the Interim DIP Order or any of the other DIP
      Documents and the transactions contemplated therein and to carry out fully the intent of
      the foregoing resolutions.

General

      RESOLVED, that in addition to the specific authorizations heretofore conferred upon the
      Authorized Signatories, each of the Authorized Signatories (and their designees and
      delegates) be, and they hereby are, authorized and empowered, in the name of and on behalf
      of each Company, to take or cause to be taken any and all such other and further action,
      and to execute, acknowledge, deliver and file any and all such agreements, certificates,
      instruments and other documents and to pay all expenses, including but not limited to filing
      fees, in each case as in such director’s judgment, shall be necessary, advisable or desirable
      in order to fully carry out the intent and accomplish the purposes of the resolutions adopted
      herein.

      RESOLVED, that each Governing Body of each Company has received sufficient notice
      of the actions and transactions relating to the matters contemplated by the foregoing
      resolutions, as may be required by the organizational documents of each Company, or
      hereby waive any right to have received such notice.

      RESOLVED, that all acts, actions and transactions relating to the matters contemplated by
      the foregoing resolutions done in the name of and on behalf of each Company, which acts
      would have been approved by the foregoing resolutions except that such acts were taken
      before the adoption of these resolutions, are hereby in all respects approved and ratified as
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     the true acts and deeds of each Company with the same force and effect as if each such act,
     transaction, agreement or certificate has been specifically authorized in advance by
     resolution of each Governing Body.

     RESOLVED, that each of the Authorized Signatories (and their designees and delegates)
     be, and hereby is, authorized and empowered to take all actions or to not take any action in
     the name of each Company with respect to the transactions contemplated by these
     resolutions hereunder, as such Authorized Signatory shall deem necessary or desirable in
     such Authorized Signatory’s reasonable business judgment as may be necessary or
     convenient to effectuate the purposes of the transactions contemplated herein.
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IN WITNESS WHEREOF, the undersigned represents that each Governing Body has authorized
the undersigned to execute this Written Consent on behalf of each Governing Body as of the date
above first written.

Specialty Retail Shops Holding Corp.




Name: Russell L. Steinhorst
Director




Name: Casey Lanza
Director




Name: Donald Roach
Director




Name: Mohsin Meghji
Director




Name: Steve Winograd
Director
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Specialty Retail Shops Holding Corp.




Name: Russell L. Steinhorst
Director




Name: Casey Lanza
Director




Name: Donald Roach
Director




Name: Mohsin Meghji
Director




Name: Steve Winograd
Director
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                                      Annex A

                            Company                               Jurisdiction
              Specialty Retail Shops Holding Corp.                 Delaware
                      Shopko Finance, LLC                          Delaware
                ShopKo Holding Company, LLC                        Wisconsin
                    Retained R/E SPE, LLC                          Delaware
               Shopko Stores Operating Co., LLC                    Delaware
           ShopKo Institutional Care Services Co., LLC             Wisconsin
                  ShopKo Gift Card Co., LLC                        Minnesota
                       SVS Trucking, LLC                           Minnesota
                       Penn-Daniels, LLC                           Delaware
                    ShopKo Properties, LLC                         Minnesota
               Pamida Stores Operating Co., LLC                    Delaware
              Place’s Associates’ Expansion, LLC                    Missouri
                  Pamida Transportation LLC                        Nebraska
